                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

UNITED STATES OF AMERICA                           )
                     Plaintiff,                    )
                                                   )   DEFAULT JUDGMENT
v.                                                 )
                                                   )   No. 5:19-CV-441-FL
ABHISHEK KRISHNAN’S REAL AND                       )
PERSONAL PROPERTY:                                 )
Specifically Described As:                         )
                                                   )
U.S. CURRENCY IN THE AMOUNT OF                     )
$1,441,813.42 Formerly held in TF Ameritrade       )
Account *3860                                      )
                                                   )
U.S. CURRENCY IN THE AMOUNT OF                     )
#3,140.91 Formerly Held in Bank of America         )
Account *4234                                      )
                                                   )
REAL PROPERTY Described in Deed Book               )
015780, Pages 01126-01128 of the Wake County )
Registry, Having a Street Address of 1421          )
Ballyclare Court, Raleigh, NC                      )
                                                   )
REAL PROPERTY Described in Deed Book               )
017211, Pages 01862-01863 of the Wake County )
Registry, Having the Street Address of 2736 Laurel )
Cherry Street, Raleigh, NC                         )
                                                   )
REAL PROPERTY Described in Deed Book               )
015037, Page 01218 of the Wake County Registry )
Having the Street Address of 6205 Cold Water       )
Court, Raleigh, NC                                 )
                                                   )
Any and all proceeds From the Sale of Said         )
Properties                                         )
                              Defendants.          )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge on
plaintiff’s motion for default judgment.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered



          Case 5:19-cv-00441-FL Document 66 Filed 10/19/20 Page 1 of 2
October 19, 2020, for the reasons set forth more specifically therein, plaintiff’s motion for default
judgment is GRANTED and default is entered against the Defaulted Property, including the
following assets: 1) $500,000 formerly held in TD Ameritrade Account *3860, 2) $1,225,778.30,
formerly held in Bank of America Account *3846; and 3) $3,140.91, formerly held in Bank of
America Account *4234.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all persons claiming any right,
title, or interest in or to the said Defaulted Property be held in Default and Defaulted Property is
forfeited to the United States of America, who is directed to dispose of the defendants according to
law.

This Judgment Filed and Entered on October 19, 2020, and Copies To:
John E. Harris (via CM/ECF Notice of Electronic Filing)
Claire Collins Dickerhoff (via CM/ECF Notice of Electronic Filing)
Kenneth R. Murphy, III (via CM/ECF Notice of Electronic Filing)
Collin P. Cook / Elliot Sol Abrams (via CM/ECF Notice of Electronic Filing)

October 19, 2020                      PETER A. MOORE, JR., CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




           Case 5:19-cv-00441-FL Document 66 Filed 10/19/20 Page 2 of 2
